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                      EXHIBIT 6
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                                                                Docket No.: 28212/1200285-US1/NC34963US
                                                                                               (PATENT)

                IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

In re Patent Application of:
Yin L. Liong, et al.

Application No.: 10/719,371                                            Confirmation No.: 3587

Filed: November 21, 2003                                               Art Unit: 2141

For: USING POLICY-BASED MANAGEMENT TO                                  Examiner: Kristie D. Shingles
     SUPPORT DIFFSERV OVER MPLS
     NETWORK


                AMENDMENT IN RESPONSE TO NON-FINAL OFFICE ACTION


MS Amendment
Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450

Dear Sir:

                                    INTRODUCTORY COMMENTS

                 In response to the Office Action dated February 9, 2005, please amend the
    above-identified U.S. patent application as follows:


                 Amendments to the Specification begin on page 2 of this paper.


                 Listing of the Claims begins on page 3 of this paper.


                 Remarks/Arguments begin on page 9 of this paper.




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                           AMENDMENTS TO THE SPECIFICATION

               Please amend the second full paragraph on page 7, starting at line 13 of the
specification, as follows:


               Network 354 is to be used by two customers X, Y. Network 354 includes two
edge routers 356 and two core routers 358. Policy server 310 can assign different
customer applications into different Diffserv classes by service policies, and allocate the
resources accordingly by network policies. Such will control which one of the network
paths 360 will be followed along one or more communication links 362, for
communication within each of customers X, Y.




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                                    LISTING OF THE CLAIMS


1.       (Original) A system for configuring differentiated services (Diffserv) over multi-
protocol label switching (MPLS) in a network that includes MPLS tunnels, comprising:
         a policy server that is arranged to configure a customer policy and a mapping
policy that maps between an experimental (EXP) field and a unique per-hop-behavior
(PHB), and to deploy the mapping policy and the customer policy to interfaces of devices
of the network that correspond to the tunnels.



2.       (Original) The system of claim 1, wherein

         the customer policy comprises a tunnel group identifier and tunneling mode.



3.       (Original) The system of claim 1, wherein

         the policy server translates the mapping policy into device specific commands,
and

         deployment is performed by deploying commands to specific devices.



4.       (Original) The system of claim 1, wherein

         deployment is such that the interfaces associate with at least one of input roles,
output roles and MPLS gateways of customer source and destination host groups.



5.       (Original) An apparatus for configuring Diffserv over MPLS in a network,
comprising:

         a memory;

         a service application residing on the memory,




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                  wherein the service application is arranged to configure a customer policy
          that comprises a tunnel group and tunneling mode, the customer policy being
          arranged to have customer traffic mapped into MPLS tunnels, and

                  wherein the service application is arranged to configure an EXP-to-PHB
          mapping policy that is arranged to map EXP fields to PHB;

     a central processing facility that is arranged to translate the customer policy and
mapping policy into device-neutral policy parameters; and

          a policy consumer that is arranged to translate the device-neutral policy
parameters into device-specific commands, and that is further arranged to deploy the
device-specific commands to policy targets, such that the customer policy and mapping
policy are implemented across at least a portion of the network.



6.        (Original) The apparatus of claim 5, further comprising:

          a user interface that is arranged to receive the customer policy and the mapping
policy.



7.        (Original) The apparatus of claim 5, wherein

          deployment is such that the interfaces associate with at least one of input roles,
output roles and MPLS gateways of customer source and destination host groups.



8.        (Original) The apparatus of claim 5, wherein

          the policy consumer is further arranged to attach the customer policy to the
corresponding MPLS tunnels and deploy the customer policy to interfaces of the attached
MPLS tunnels.



9.        (Original) The apparatus of claim 5, further comprising:

          a database for storing the device-neutral policy parameters.


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10.       (Original) The apparatus of claim 5, wherein

          the service application comprises a tunnel group object that is arranged to create
the MPLS tunnels by specifying end-point routers and inter-connecting topology.



11.       (Original) An apparatus for configuring Diffserv over MPLS in a network,
comprising:
          a means for defining a mapping policy that maps between an EXP field and a
unique PHB;
          a means for maintaining a customer policy;
          a means for translating the mapping policy and customer policy into device-
specific commands; and
          a means for deploying the device-specific commands to policy targets.


12.       (Original) The apparatus of claim 11, wherein

         the customer policy includes information about a tunnel group identifier and a
tunnel mode.



13.      (Original) The apparatus of claim 11, wherein

         deployment is such that the interfaces associate with at least one of input roles,
output roles and MPLS gateways of customer source and destination host groups.



14.      (Original) An article comprising: a storage medium, the storage medium having
instructions stored thereon, wherein when the instructions are executed by at least one
device, they result in:
         defining a mapping policy configured to map between an EXP field and a unique
PHB;

         defining a customer policy that is configured to govern the treatment of individual
customer traffic;


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          defining a network policy that is configured to define the Diffserv treatment of
aggregated traffic;

          translating the mapping policy, the network policy and the customer policy into
device-specific commands; and

          deploying the device-specific commands to policy targets.



15.       (Original) The article of claim 14, wherein executing the instructions further
results in:
          generating device neutral information associated with the mapping policy, the
network policy and the customer policy.



16.       (Original) The article of claim 15, wherein
          the device specific commands are generated from the device neutral information.



17.       (Original) The article of claim 15, wherein executing the instructions further
results in:
          storing the device neutral information in a database.



18.       (Original) The article of claim 14, wherein
          deployment is such that the interfaces associate with at least one of input roles,
output roles and MPLS gateways of customer source and destination host groups.



19.       (Original) The article of claim 14, wherein
          deploying the mapping policy to the network interfaces further comprises issuing
new commands to reconfigure a router based on the mapping policy.



20.       (Original) The article of claim 14, wherein
          the customer policy includes information about a tunnel group identifier and a
tunnel mode.


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21.     (Original) A method for configuring Diffserv over MPLS in a network,
comprising:

        defining a mapping policy configured to map between an EXP field and a unique
PHB;

        defining a customer policy that is configured to govern the treatment of individual
customer traffic;

        defining a network policy that is configured to define the Diffserv treatment of
aggregated traffic;

        translating the mapping policy, the network policy and the customer policy into
device-specific commands; and

        deploying the device-specific commands to policy targets.



22.     (Original) The method of claim 21, further comprising:

        generating device neutral information associated with the mapping policy, the
network policy and the customer policy.



23.     (Original) The method of claim 22, wherein

       the device specific commands are generated from the device neutral information.



24.    (Original) The method of claim 22, further comprising:

       storing the device neutral information in a database.



25.    (Original) The method of claim 21, wherein

       deployment is such that the interfaces associate with at least one of input roles,
output roles and MPLS gateways of customer source and destination host groups.


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26.      (Original) The method of claim 21, wherein

         deploying the mapping policy to the network interfaces further comprises issuing
new commands to reconfigure a router based on the mapping policy.



27.      (Original) The method of claim 21 wherein
         the customer policy includes information about a tunnel group identifier and a
tunnel mode.




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                                                            REMARKS

               Claims 1-27 are now pending in this Application. The Non-Final Office Action dated
February 9, 2005 has rejected Claims 1-27. Further, the drawings are objected to. None of the
claims were allowed. Applicants have amended the specification to add a missing reference
number. The claims are listed above, but none of the claims are amended. Applicants submit that
the pending claims are patentable for the reasons discussed in detail below.

The objection to the drawings:

               Section 3 of the Office Action objected to the drawings because Figure 3 includes a
reference number 362 that is not mentioned in the description. Applicants have amended the
specification to indicate that reference number refers to one or more communication links. Figure 3
clearly illustrates these communication links, so the amendment does not add new matter to the
specification. Accordingly, applicants respectfully request that the objection to the drawings be
withdrawn.

The 35 U.S.C. §102 rejection of Claims 1-4:

               Section 5 of the Office Action rejected Claims 1-4 under 35 U.S.C. §102(e) as being
anticipated by Gibson et al (U.S. Patent No. 6,680,943, hereinafter referred to as Gibson). Gibson is
directed to establishing a bi-directional communication session between two end-points in a
communications network, especially where it is required to provide a guaranteed quality of service
for the connection. (See Gibson, col. 1, lines 8-12). Applicants respectfully disagree that Gibson
discloses or suggests all of the elements of the rejected claims.


               For example, with regard to independent Claims 1, 5, 11, 14, and 21, the Office Action
does not indicate that Gibson discloses or suggests a customer policy and a mapping policy that
maps between an experimental (EXP) field and a unique per-hop-behavior (PHB). Applicants'
specification explains that "the experimental (EXP) field [is] in the MPLS shim header" (Spec.,
pg. 3, lines 23-24). Applicants' find no mention in Gibson of an experimental field, a shim header,



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or an MPLS header. Moreover, applicants' find no portion of Gibson that discloses or suggests an
equivalent to the experimental field in any header.


              Similarly, the Office Action does not identify in Gibson a customer policy (or
equivalent), a mapping policy (or equivalent), or mapping between the experimental field and a
unique PHB. Instead, the Office Action simply states that the administrative server implements "the
appropriate policies."


              The Office Action further glosses over the specific limitations of the claims with a broad
description of Gibson's process. However, Gibson's approach teaches away from the claimed
invention. Gibson explains that additional components and messaging protocols are provided "to
determine and reserve guaranteed quality of service for particular connections for particular paths
over the network." (emphasis added, Gibson, col. 6, lines 55-57). The Office Action also indicates
that a reservation of bandwidth is made along the most preferred path. Yet, applicants' claims do
not include any such reservations.


              Accordingly, the rejection of at least independent Claim 1 under 35 U.S.C. §102(e)
should be withdrawn. Also, it is well established that dependent claims are considered to include all
of the elements of the independent claims from which the dependent claims depend. Thus,
dependent claims are patentable for at least the same reasons as their corresponding independent
claims. Accordingly, the rejection of dependent Claims 2-4 should also be withdrawn.


              Nevertheless, applicants note that Gibson does not disclose or suggest a tunnel group, a
tunnel group identifier, or a tunneling mode as defined by applicants' specification for dependent
Claims 2, 10, 12, 20, and 27. Page 4 of the Office Action indicates that Gibson registers tunnels in
the management layer, where they are labeled for identification and used as label switch paths in the
MPLS network. However, Gibson does not disclose or suggest that a group of tunnels is identified
by a single identifier. Applicants' specification explains that a tunnel group "is a set of tunnels that
share the same properties and form a certain topology ... " (Spec, pg. 11, line 12). Gibson does not
disclose or suggest any equivalent grouping, or a single identifier for any such grouping. Gibson


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discloses that "pre-provisioned label switch paths are referred to as 'tunnels'." (Gibson, col. 10,
lines 64-65). Gibson also states that "information about the source, destination and capacity of each
tunnel is made known to the management layer." (Gibson, col. 11, lines 2-4). However, Gibson
does not group these tunnels by shared properties or to form a certain topology.


               Also, applicants' specification explains that "[t]unneling mode defines the method of
translating the Diffserv information in the MPLS headers (labels and EXP field) into the DSCP
value in the encapsulated IP header when packets exit the MPLS network." (Spec., pg. 4, lines 1-3).
Gibson does not disclose or suggest any such tunneling mode.


               Applicants' are not arguing the specification, but rather are showing that Gibson does
not disclose or suggest terms of the claims as defined by the specification. Because Gibson does not
disclose or suggest the tunneling limitations as defined by the specification, the rejection of at least
dependent Claims 2, 10, 12, 20, and 27 under 35 U.S.C. §102(e) should be withdrawn.


The 35 U.S.C. §103 rejection of Claims 5-27:

               Section 7 of the Office Action rejected Claims 5-27 under 35 U.S.C. §103(a) as being
unpatentable over Gibson in view of Giniger et al (U.S. Patent No. 6,751,729, hereinafter referred to
as Giniger). Giniger is directed to establishing and operating a virtual private network. (See
Giniger, col. 1, lines 11-12). Applicants respectfully disagree that Gibson and Giniger disclose or
suggests all of the elements of the rejected claims, and respectfully disagree that either reference
provides a motivation for one of ordinary skill in the art to combine Gibson and Giniger.


               Independent Claims 5, 11, 14, and 21 include the limitations of an EXP field, a customer
policy, and a mapping policy that maps an EXP field to a PHB. As discussed above, Gibson does
not disclose or suggest these limitations. Also, applicants find no indication that Giniger discloses
or suggests these elements. Accordingly, independent Claims 5, 11, 14, and 21 are patentable for at
least the same reasons as independent Claim 1. The Office Action admits that Gibson fails to
explicitly teach a means for translating the mapping policy and customer policy into device-specific
commands. Instead, the Office Action indicates that Giniger teaches implementing device-specific

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commands according to the "particular policy," wherein the commands instruct the devices on the
mapping policies. However, Giniger does not disclose or suggest translating, converting, or
otherwise modifying a customer policy or a mapping policy, let alone a mapping policy that maps
an EXP field and a PHB as required by the independent claims. Thus, Giniger does not disclose or
suggest one of the limitations that the Office Action admits is missing from Gibson.


               Further, Gibson does not disclose or suggest a virtual private network, or any encryption,
such as that disclosed in Giniger. In addition, Giniger does not disclose or suggest differentiated
services (Diffserv) or multi-protocol label switching (MPLS). Thus, there is no reason to believe
that one of ordinary skill in the art would be motivated to select and combine Giniger with Gibson.
Page 6 of the Office Action indicates that the motivation to combine the references is "because in
order to effectively and successfully execute a policy, it must be translatable to the components of
the system for the proper deployment." (emphasis added). Even if, arguendo, some kind of
translation must occur, there is no reason to select Giniger for combination with Gibson. Giniger
does not disclose or suggest any translation, conversion, or other modification. Giniger simply
discloses a server "used for configuring the node devices, including for sending commands to the
node devices to establish secure communication tunnels with other node devices." (Giniger, col. 4,
lines 3-6). There is no translation disclosed or suggested, so there is no reason to single out Giniger
for combination with Gibson.


              Accordingly, the rejection of independent Claims 5, 11, 14, and 21 under
35 U.S.C. §103(a) should be withdrawn. Also, because dependent claims are considered to include
all of the elements of the independent claims from which the dependent claims depend, dependent
claims are patentable for at least the same reasons as their corresponding independent claims.
Consequently, the rejection of dependent Claims 6-10, 12, 13, 15-20, and 22-27 should also be
withdrawn.


              In view of the above remarks and the amendment to the specification, applicants believe
the pending application is in condition for allowance. Accordingly, the Examiner is respectfully
requested to pass this application to issue.


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Dated: May 4, 2005                                                   Respectfully submitted,


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